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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  UNITED STATES OF AMERICA
  ex rel. Lyle Beauchamp and Warren
  Shepherd,

                        Plaintiffs,                    Civil Action No. 1:11-cv-371
                                                       (TSE/MSN)
  v.

  ACADEMI TRAINING CENTER, INC.
  (F/K/A U.S. TRAINING CENTER, INC.),

                        Defendant.


       NOTICE OF HEARING FOR DEFENDANT ACADEMI’S EXPERT MOTIONS

         Pursuant to the Court’s Order setting a hearing date for Defendant ACADEMI Training

  Center, LLC’s (“ACADEMI”) Daubert motions and other motions to exclude experts or hybrid

  experts (“Expert Motions”), (ECF No. 307), counsel for ACADEMI will appear for argument in

  support of its motions to exclude Relators’ experts on Friday, March 3, 2017 at 10:00 a.m.

  Dated: February 14, 2017                        Respectfully submitted,


                                                  /s/ Tara M. Lee
                                                  Tara M. Lee (VSB # 71594)
                                                  QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                                  777 Sixth Street NW, 11th Floor
                                                  Washington, District of Columbia 20001-3706
                                                  Tel. (202) 538-8000
                                                  Fax: (202)-538-8100
                                                  Email: taralee@quinnemanuel.com

                                                  Counsel for Defendant
                                                  Academi Training Center, LLC
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on February 14, 2017, I filed a copy of the foregoing Motion with the

  Clerk of Court using the CM/ECF system, which will send a notification of this filing to all counsel

  of record.



   Dated: February 14, 2017                              Respectfully submitted,
                                                     By: /s/ Tara M. Lee
                                                         Tara M. Lee (VSB # 71594)
                                                         Quinn Emanuel Urquhart & Sullivan, LLP
                                                         777 6th Street NW, 11th Floor
                                                         Washington, D.C. 20001
                                                         Telephone: 202-538-8000
                                                         Facsimile: 202-538-8100
                                                         Email: TaraLee@quinnemanuel.com

                                                           Counsel for Defendant Academi Training
                                                           Center, LLC
